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     UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW Y,ORK
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                                              -   -   -   -   X


      UNITED STATES OF AMERICA
                                                                  SUPERSEDING
                 -   V.   -                                       INFORMATION

      DAVID R. PIKE,                                              Sll 17 Cr. 630 (ER)

                                 Defendant.

                                        ------X



                                          COUNT ONE
                              (Conspiracy to Commit Bank Fraud)

          The United States Attorney charges:

          i.         From at least in or about,2016 through in or about

     2018, in the Southern District of New York and elsewhere, DAVID

     R. PIKE, the defendant, and others known and unknown, willfully

     and knowingly did combine, conspire, confederate, and agree

     together and with each other to commit bank fraud,                    in violation

     of Title 18, United States Code, Section 1344.

           2.        It was a part and object of the conspiracy that DAVID

     R. PIKE, the defendant, ~nd others known and unknown, willfully

     and knowingly, would and did execute and attempt to execute a

     scheme and artifice to defraud a financial institution, the

     deposits of which were then insured by the Federal Deposit

     Insurance Corporation ("FDIC"), and to obtain moneys, funds,

     credits, assets, ·securities, and other property owned by, and

     under the custody and control of, such financial institution, by
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     means of false and fraudulent pretenses, representations, and

     promises, to wit, PIKE and others misrepresented and omitted

     material facts to banks and other financial institutions

     worldwide to cause those financial institutions, including FDIC-

     insured financial institutions in the United States, to transfer

     funds into and out of accounts associated with purported

     investment funds operated by PIKE and others, in violation of

     Title 18, United States Code, Section 1344.

                                         Overt Acts

          3.      In furtherance of said conspiracy and to effect the

     illegal object thereof, the following overt acts, among others,

     were committed and caused to be committed in the Southern

     District of New York and elsewhere:

                  a.    In or around June 2016, a co-conspirator not

     named herein misrepresented material facts to an FDIC-insured

     bank in Manhattan, New York (the "Manhattan Bank") and thereby

     caused the Manhattan Bank to transfer approximately $5 million

     into a purported investment fund operated by DAVID R. PIKE, the

     defendant, and others.

                  b.   . On or about August 9, 2016, PIKE sent an emai•l t0

     co-conspirator Mark S. Scott, stating,         "They are going to make a

     move too soon and send up flags that will disrupt the delicate

     process of attempting to scrub Ruja [Ignatova] i[f] they keep




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      this up.    You are playing a very delicate game quite well, I am

      impressed."

                   c.   On or about December 4, 2018, PIKE made false

      statements during a meeting with federal law enforcement agents,

      when PIKE falsely stated, in sum and substance, that PIKE was

      not aware that approximately $400 million transferred into

      purported private equity funds that PIKE helped to manage was

      derived from an international multi-level marketing scheme known

      as "OneCoin" or belonged to Ruja Ignatova, the leader of that

      scheme, when in truth and in fact,         PIKE was aware that the money

      belonged to Ruja Ignatova and that it was derived from the

      OneCoin multi-level marketing scheme.

                    (Title 18, United States Code, Section 371.)

                                 FORFEITURE ALLEGATION

           4.      As a result of committing the offense alleged in Count

      One of this Superseding Information, DAVID R. PIKE, the

      defendant, shall forfeit to the United States, pursuant to Title

      18, United States Code, Section 982(a) (2) (A), any and all

      property constituting, or derived from, proceeds obtained

      directly or indirectly, as a result of the commission of said

      offense, including but not limited to a sum of money in United

      States currency representing the amount of proceeds traceable to

      the commission of said offense.




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                        Substitute Asset Provision

     5.      If any of the above-described forfeitable property, as

a result of any act or omission of the defendant:

             a.    cannot be located upon the exercise of due

diligence;

             b.    has been transferred or sold to, or deposited

with, a third party;

             c.    has been placed beyond the jurisdiction of the

court;

             d.    has been substantially diminished in value; or

             e.    has been commingled with other property which

cannot be subdivideq without difficulty;

it is the intent of the United States, pursuant to Title 21,

United States Code, Section 853(p), and Title 28, United States

Code, Section 2461(c), to seek forfeiture of any other property

of the defendant up to the value of the above forfeitable

property.

              (Title 18, United States Code, Section 982;
            Title 21, United States Code, Sections 853; and
             Title 28, United States Code, Section 2461.)




                                           United States Attorney
                                           Southern District of New York




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            UNITED STATES DISTRICT COURT
            SOUTHERN DISTRICT OF NEW YORK


               UNITED STATES OF AMERICA

                           - v. -

                     DAVID R. PIKE,

                                    Defendant.




                SUPERSEDING INFORMATION

                  S11 17 Cr. 630 (ER)

                   (18   u.s.c.   § 371.)




                                GEOFFREY S. BERMAN
                           United States Attorney.
